Case 2:22-cv-00106-MCS-GJS Document 18 Filed 07/25/22 Page 1 of 2 Page ID #:114




   1
   2
   3
   4
   5
   6
   7
   8                         UNITED STATES DISTRICT COURT
   9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11 JOSEPH F. INIGUEZ,                             Case No. 2:22-cv-00106-MCS-GJS
                                                    [District Judge: Mark C. Scarsi;
  12                Plaintiff,                      Magistrate Judge: Gail J. Standish]
  13         v.
                                                    ORDER RE: JOINT STIPULATION
  14 OFFICER R. MARTINEZ, an                        FOR CONTINUANCE OF STAY OF
     individual and Officer of the Azusa            PROCEEDINGS PENDING
  15 Police Department; CITY OF AZUSA,              COMPLETION OF DEPARTMENT
     a public entity; and DOES 1 to 20,             OF JUSTICE INVESTIGATION
  16                                                (ECF No. 17)
                   Defendants.
  17                                                Complaint Filed: 01/06/22
                                                    FAC Filed:       01/12/22
  18                                                Trial Date:      N/A
  19
             Pursuant to the Status Report and Joint Stipulation of the parties, and Good
  20
       Cause appearing therefor, IT IS HEREBY ORDERED:
  21
             1.     The Court hereby continues the stay of all proceedings in this matter –
  22
       including all non-expert and expert discovery, discovery and dispositive motions, and
  23
       trial of the civil matter – for 120 days or until the pending criminal investigation by
  24
       the Department of Justice has been completed, whichever occurs first. Additionally,
  25
       this matter shall remain removed from the active case calendar as previously ordered.
  26
             2.     If the criminal investigation is still ongoing after the expiration of 120
  27
       days from the entry of this order, the parties shall jointly issue a report to the Court
  28

         [PROPOSED] ORDER RE: JT STIP FOR CONTINUANCE OF STAY OF PROCEEDINGS PENDING
                                     COMPLETION OF DOJ INV
Case 2:22-cv-00106-MCS-GJS Document 18 Filed 07/25/22 Page 2 of 2 Page ID #:115




   1 on the status of the criminal investigation. The parties shall provide a proposed order
   2 with their report if they agree that the stay should be extended. The Court will decide
   3 whether to extend or lift the stay after reviewing the parties’ report.
   4        3.     The parties shall notify the Court within seven days of learning that the
   5 Department of Justice investigation has concluded.
   6        IT IS SO ORDERED.
   7
   8 DATED: July 25, 2022
                                           Mark C. Scarsi
   9
                                           United States District Judge
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                 2
        [PROPOSED] ORDER RE: JT STIP FOR CONTINUANCE OF STAY OF PROCEEDINGS PENDING
                                    COMPLETION OF DOJ INV
